







		NO. 12-08-00054-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




JEREMY KENNEDY AND 

MARGARET KENNEDY,§
	APPEAL FROM THE 

APPELLANTS


V.§
	COUNTY COURT OF


SANDRA RUDMAN,

APPELLEE§
	RAINS COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for want of prosecution.  See Tex. R. App. P. 42.3(b).
Appellants perfected their appeal on February 1, 2008.  Thereafter, the clerk's record was filed on
March 24, 2008, making Appellants' brief due on or before April 23, 2008.  When Appellants failed
to file their brief within the required time, this court notified them on April 30, 2008 that the brief
was past due and warned that if no motion for extension of time to file the brief was received by
May&nbsp;12, 2008, the appeal would be dismissed for want of prosecution under Texas Rule of Appellate
Procedure 42.3(b).  The notice further informed Appellants that the motion for extension of time
must contain a reasonable explanation for their failure to file the brief and a showing that Appellee
had not suffered material injury thereby.

	To date, Appellants have neither complied with or otherwise responded to this court's
April&nbsp;30, 2008 notice.  Accordingly, we dismiss the appeal for want of prosecution.  See Tex. R.
App. P. 38.8(a)(1), 42.3.(b).

Opinion delivered May 14, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.


(PUBLISH)


